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                          Muneeb & Sohaib Character Reference Letter

Dear Honorable Judge,
         My name is Usman Hamid. I am a 12th grade student in the magnet program at Paul
Laurence Dunbar High School in Lexington, KY.
         I am the paternal cousin of Muneeb and Sohaib Akhter. I am writing regarding their
sentencing. I have known Muneeb and Sohaib since I was born. We have been in regular contact
through visits. I believe I am in a position to speak to Muneeb and Sohaib’s moral character, so I
hope you will take this letter into account when making your decision.
         I have always known Muneeb and Sohaib to be hard-working and reliable people who
always push themselves to excel. They have always been kind and generous to me. They have
always been a constant inspiration for me to excel in my studies, and I have always looked up to
them. They have mentored me in my studies and career goals. I have admired their perseverance,
patience, and kindness towards not only me when I was little, but also towards my siblings, who
are a lot younger than them. My three siblings have observed how they played together. Muneeb
and Sohaib were gentle towards my siblings and stopped to help them when my siblings were
distressed.
         When I was in 6th grade, I had a school project where I had to create a balloon powered
car. I was lost for ideas. When I went to visit them, I simply mentioned that I had to do the
project, and they started helping me with it immediately. We sat through multiple designs and
creations until it worked. I admire how they didn’t give up or get bored, despite how simple this
task seemed to them. They did not have to help me, but they still took the initiative to help. It
took them three days, which meant that they were losing their study time. They put my needs
before theirs, when they could have been doing something else.
         Muneeb and Sohaib constantly strive to make sure they are doing the right thing. They
listen to their parents. I realize that Muneeb and Sohaib have made some wrong choices in life,
but I believe they deserve to have a second chance. With the high education and valuable skills
they possess, they can become valuable members of society. It would be a valuable resource
going to waste with Muneeb and Sohaib behind bars.
         Thank you for your time and understanding in this matter. I hope you exercise leniency
towards both Muneeb and Sohaib Akhter during their sentencing. I hope you will take my letter
into consideration and understand that Muneeb and Sohaib can have a very positive influence on
others.
         Sincerely,
         Usman Hamid
